                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:13-00069
                                                    )       JUDGE CAMPBELL
MIGUEL SANCHEZ BRITO                                )

                                            ORDER

        Pending before the Court is Defendant Miguel Sanchez Brito’s Motion for Extension of Time

to File Pretrial Motions (Docket No. 42). The Motion is DENIED without prejudice to being refiled

indicating how much time is needed for filing pretrial motions.

        It is so ORDERED.

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                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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